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 7                            UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                    ) Case No.: 15CR1442-JLS
                                                  )
11                  Plaintiff,                    ) ORDER AND JUDGMENT DISMISSING
                                                  ) INDICTMENT AS TO DEFENDANT
12    vs.                                         )
                                                  ) JEFFREY CRAIG THOMPSON ONLY
13   JEFFREY CRAIG THOMPSON (6),                  )
                                                  )
14                  Defendant.                    )
                                                  )
15

16          For    good    cause   appearing,      the    Government’s       motion   to
     dismiss without prejudice all charges filed against defendant
17
     Jeffrey Craig Thompson in 15CR1442-JLS is granted.                  Further, the
18
     federal      arrest   warrant   for    Jeffrey      Craig    Thompson   issued on
19
     May 20, 2015 is recalled.
20
            SO ORDERED.
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     Dated: March 15, 2016
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